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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No.: 1:19-cv-00874-RBJ-MEH

  WARNER RECORDS INC., et al.,

                 Plaintiffs,

  v.

  CHARTER COMMUNICATIONS, INC.,

                 Defendant.

  ______________________________________________________________________________

         DECLARATION OF NEEMA T. SAHNI IN SUPPORT OF PLAINTIFFS’
    EXPEDITED MOTION FOR LEAVE TO CONDUCT DISCOVERY OUTSIDE THE
   DISCOVERY LIMITS AND ON AN EXPEDITED BASIS REGARDING CHARTER’S
                       SPOLIATION OF ELECTRONIC DATA
  ______________________________________________________________________________


         I, Neema T. Sahni, hereby declare and state as follows pursuant to 28 U.S.C. § 1746:

         1.      I am a partner of the law firm Covington & Burling LLP, attorneys of record for

  Plaintiffs. I submit this declaration in support of Plaintiffs’ Expedited Motion for Leave to

  Conduct Discovery Outside the Discovery Limits and on an Expedited Basis Regarding

  Charter’s Spoliation off Electronic Data. I have personal knowledge of all facts stated in this

  declaration, and if called upon as a witness, could and would competently testify thereto.

         2.      On March 18, 2020, I attended a meet-and-confer call with counsel for

  Charter. During the call, in response to a request for the document retention policy applicable to

  Charter’s ticket data, counsel for Charter stated that the ticket data retention policies are not

  written down, and that they had learned of the policies orally from their client.
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         3.      According to review under my supervision, to date, Charter has produced two

  emails for which one of the nine custodians whose data Charter deleted is identified in the

  “Custodian” field. The Order Approving the Protocol for Producing Documents and ESI (Dkt.

  70) in this case requires the “Custodian” field to provide the “[n]ame of custodian(s) of e-mail(s)

  or file(s) produced (Last Name, First Name format) as available.”

         4.      Attached hereto as Exhibit 1 is a true and correct copy of Plaintiffs’ Requests for

  Production of Spoliation-Related Documents, concurrently served on Charter with this motion.

         5.      Attached hereto as Exhibit 2 is a true and correct copy of Plaintiffs’ Rule 30(b)(6)

  deposition topics (concerning spoliation issues only) concurrently served on Charter with this

  motion.

         6.      Attached hereto as Exhibit 3 is a true and correct copy of an email chain between

  counsel for Plaintiffs and counsel for Charter, spanning March 4–6, 2020.

         7.      Attached hereto as Exhibit 4 is a true and correct copy of a letter that Michael S.

  Elkin, counsel for Charter, sent to Plaintiffs’ counsel on March 4, 2020, regarding Charter’s

  spoliation of Electronically Stored Information (“ESI”).

         8.      Attached hereto as Exhibit 5 is a true and correct copy of a letter that John

  Rosenthal, counsel for Charter, sent to Plaintiffs’ counsel on April 14, 2020, regarding Charter’s

  spoliation of ESI.

         9.      Attached hereto as Exhibit 6 is a true and correct copy of an email chain between

  counsel for Plaintiffs and counsel for Charter, spanning March 18–April 8, 2020.

         10.     Attached hereto as Exhibit 7 is a true and correct copy of pages 120 to 126 from

  the transcript for the February 19, 2020 discovery conference before Magistrate Judge Hegarty.


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         11.     Attached hereto as Exhibit 8 is a true and correct copy of an email that Erin

  Ranahan, counsel for Charter, sent to Magistrate Judge Hegarty on February 24, 2020, regarding

  Charter’s deletion of ticket and ticket-table data.

         12.     Attached hereto as Exhibit 9 is a true and correct copy of page 12 from the

  transcript of the March 4, 2020 discovery conference before Magistrate Judge Hegarty.

         13.     Attached hereto as Exhibit 10 is a true and correct copy of pages 19 to 20 from

  the transcript for the April 17, 2020 hearing before Special Master Rodriguez.

         14.     Attached here to as Exhibit 11 is a true and correct copy of Charter’s Initial

  Disclosures, served on June 6, 2019.

         15.     Attached hereto as Exhibit 12 is a true and correct copy of Charter’s

  Supplemental Responses to Plaintiffs’ First Set of Interrogatories, served on February 4, 2020.

         16.     Attached hereto as Exhibit 13 is a true and correct copy of an email that was

  included as a trial exhibit in the case Sony Music Entertainment v. Cox Communications Inc., No

  1:18-cv-00950 (E.D. Va.).



         I declare under penalty of perjury under the laws of the United States of America that the

  foregoing is true and correct.

         Executed on this 4th day of May, 2020 in Los Angeles, California.



                                                 /s/ Neema T. Sahni
                                                 Neema. T Sahni




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